         19-13895-jlg       Doc 320      Filed 07/23/20 Entered 07/24/20 00:18:16                   Imaged
                                        Certificate of Notice Pg 1 of 4
                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF NEW YORK
                                                One Bowling Green
                                             New York, NY 10004−1408


IN RE: Orly Genger                                          CASE NO.: 19−13895−jlg

Social Security/Taxpayer ID/Employer ID/Other Nos.:         CHAPTER: 7
xxx−xx−8893




                 NOTICE TO ALL CREDITORS AND INTERESTED PARTIES



Please be advised that all matters scheduled for July 21, 2020 has been adj to a date to be determined.



Dated: July 21, 2020                                         Vito Genna
                                                             Clerk of the Court
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                                        Certificate of Notice Pg 2 of 4
                                      United States Bankruptcy Court
                                      Southern District of New York
In re:                                                                                  Case No. 19-13895-jlg
Orly Genger                                                                             Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0208-1           User:                        Page 1 of 3                   Date Rcvd: Jul 21, 2020
                               Form ID: 143                 Total Noticed: 51


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 23, 2020.
db             +Orly Genger,    210 Lavaca St.,    Unit 1903,    Austin, TX 78701-4582
aty            +Brian Talbot Cumings,    Graves Dougherty Hearon & Moody, PC,      401 Congress Ave,    Suite 2700,
                 Austin, TX 78701-3736
aty            +Constantine Dean Pamphilis,     Kasowitz Benson Torres LLP,    1415 Louisiana Street, Suite 2100,
                 Houston, TX 77002-7344
aty            +Danielle Nicole Rushing,    Dykema Gossett, PLLC,     112 E Pecan St,    Suite 1800,
                 San Antonio, TX 78205-1521
aty            +Graves Dougherty Hearon & Moody P.C.,     401 Congress Ave, Suite 2700,     Austin, TX 78701-3736
aty            +Michael Bowen,    Kasowitz Benson Torres LLP,     1633 Broadway,    New York, NY 10019-6708
aty            +Michael Paul Bowen,    Kasowitz Benson Torres LLP,     1633 Broadway,    New York, NY 10019-6708
aty             Raymond W. Battaglia,    Oppenheimer, Blend, Harrison & Tate, Inc,      711 Navaro, Sixth Floor,
                 San Antonio, TX 78205
aty            +Ryan Brent DeLaune,    CLARK HILL STRASBURGER,     901 Main St #6000,    Dallas, TX 75202-3748
aty            +Shelby A. Jordan,    Jordan Hyden Womble Culbreth & Holze, PC,      500 N Shoreline Suite 900 N,
                 Corpus Christi, TX 78401-0341
smg             N.Y. State Unemployment Insurance Fund,     P.O. Box 551,    Albany, NY 12201-0551
smg             New York City Dept. Of Finance,     345 Adams Street, 3rd Floor,
                 Attn: Legal Affairs - Devora Cohn,     Brooklyn, NY 11201-3719
smg            +United States Attorney’s Office,     Southern District of New York,
                 Attention: Tax & Bankruptcy Unit,     86 Chambers Street, Third Floor,     New York, NY 10007-1825
intp           +D&K GP LLC,    c/o Jordan Holzer & Ortiz, PC,     500 N. Shoreline Blvd.,    Suite 900,
                 Corpus Christi, TX 78401-0341
intp            Dalia Genger,    c/o Jordan, Holzer & Ortiz,     500 N SHORELINE BLVD,    STE 900,
                 CORPUS CHRISTI, TX 784010341
cr             +SureTec Insurance Company,    5555 Garden Grove Boulevard,     Suite 275,
                 Westminster, CA 92683-8229
cr              TPR Investment Associates, Inc.,     c/o Streusand Landon Ozburn & Lemmon,
                 1801 S. MoPac Expressway,    Suite 320,    Austin, TX 78746
7652403        +ADBG LLC,    c/o Hughes Hubbard & Reed LLP, Attn. Chr,     One Battery Park Plaza,
                 New York, NY 10004-1405
7652391        +Arie Genger,    19111 Collins Ave.,    Apt. 706,    Sunny Isles, FL 33160-2379
7671181        +CULLEN & DYKMAN LLP,    Counsel for Michael Oldner,     100 Quentin Roosevelt Boulevard,
                 Garden City, NY l 11530-4850
7652408        +D&K GP LLC,    Law Office of Ira Daniel Tokayer, Esq.,     420 Lexington Avenue, Suite 2400,
                 New York, NY 10170-2499
7652407        +Dalia Genger,    Law Office of Ira Daniel Tokayer, Esq.,     420 Lexington Avenue, Suite 2400,
                 New York, NY 10170-2499
7668638        +Elizabeth M. Aboulafia, Esq.,     Cullen and Dykman, LLP,    100 Quentin Roosevelt Boulevard,
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                 Email:eaboulafia@cullenllp.com 11530-4850
7652396        +Emmt Marvin & Martin LLP,    120 Broadway 32nd Fl,     New York NY 10271-3291
7652397        +Eric Herschmann,    c/o Raymond Battaglia,     66 Granburg Circle,    San Antonio TX 78218-3010
7652392        +Eric Herschmann,    210 Lavaca St., Unit 1903,     Austin, TX 78701-4582
7706824        +Foley & Lardner LLP,    Attorneys for Dalia Genger,     90 Park Avenue,    New York, NY 10016-1301
7652404        +Genger Litigation Trust,    Genger Litigation Trust, Attn. David Bro,
                 104 West 40th Street, 19th Floor,     New York, NY 10018-3628
7653363         Hughes Hubbard & Reed LLP,    Attorneys for ADBG LLC,     One Battery Park Plaza,
                 New York, NY 10004-1482
7654166        +Ira Daniel Tokayer, Esq.,    420 Lexington Avenue, Suite 2400,      New York NY 10170-2499
7663045        +Kasowitz Benson Torres LLP,      Attn: Matthew B. Stein,    1633 Broadway,    Floor 21,
                 New York, NY 10019-6708
7652401        +Kasowitz, Benson, Torres LLP,     c/o Daniel Benson Esq,    1633 Broadway 21st Fl,
                 New York NY 10019-6708
7652406        +Orly Genger,    Law Office of Ira Daniel Tokayer, Esq.,     420 Lexington Avenue, Suite 2400,
                 New York, NY 10170-2499
7652405        +Orly Genger,    Law Office of Ira Daniel Tokayer, Esq.,     420 Lexington Avenue, Suite 4200,
                 New York, NY 10170-2499
7663044        +Orly Genger 1993 Trust,,    Michael Oldner, Trustee,     Pollock Cohen LLP,
                 60 Broad St., 24th Fl.,    New York, NY 10004-2342
7736210        +Paul J. Labov, Esq.,    PACHULSKI STANG ZIEHL & JONES LLP,     780 Third Avenue, 34th Floor,
                 New York, New York 10017-2024
7654822        +Pollock Cohen LLP,    Attorneys for The Orly Genger 1993 Trust,      60 Broad St., 24th Fl.,
                 New York, NY 10004-2342
7664810        +REITLER KAILAS & ROSENBLATT LLC,     Attorneys for Orly Genger,     885 Third Avenue, 20th Floor,
                 New York, New York 10022,    ( 10022-4834
7663048        +Sagi Genger,    c/o Thomas A. Pitta,    Emmt Marvin & Martin LLP,     120 Broadway 32nd Fl,
                 New York, NY 10271-3291
7652402        +SureTec Insurance Co,    c/o Clark Hill Strasburger,     901 Main St #6000,    Dallas TX 75202-3748
7691733        +SureTec Insurance Company,    Clark Hill,     Attn: Ryan B. DeLaune,    901 Main St Ste 6000,
                 Dallas, TX 75202-3748
7652400        +The Orly Genger 1993 Trust,     c/o Jay H Ong,    Munsch Hardt Kopf & Harr PC,
                 303 Colorado St #2600,    Austin TX 78701-0021
7693338        +The Orly Genger 1993 Trust, Michael Oldner, Truste,      c/o Pollock Cohen LLP,
                 60 Broad St., 24th Flr.,    NewYork,NY 10004-2342
                19-13895-jlg        Doc 320       Filed 07/23/20 Entered 07/24/20 00:18:16                          Imaged
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                                      Form ID: 143                       Total Noticed: 51


7652984              +Togut, Segal & Segal LLP,   Co-Counsel to Arie Genger,   One Penn Plaza, Suite 3335,
                       New York, New York 10119-3335
7652395              +Zeichner Ellman & Krause LLP,   1211 Avenue of the Americas,   40th Floor,
                       New York, NY 10036-6149

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Jul 21 2020 20:22:50
                 New York State Tax Commission,   Bankruptcy/Special Procedures Section,     P.O. Box 5300,
                 Albany, NY 12205-0300
7652398        +E-mail/Text: dwilliamson@coxsmith.com Jul 21 2020 20:22:21      Arie Genger,
                 c/o Deborah D. Williamson,   Dykema Gossett PLLC,    112 East Pecan St #1800,
                 San Antonio, TX 78205-1521
7658470        +E-mail/Text: pdelrio@emmetmarvin.com Jul 21 2020 20:22:21      EMMET, MARVIN & MARTIN, LLP,
                 120 Broadway, 32nd Floor,   New York, New York 10271-3291
7652393         E-mail/Text: sbse.cio.bnc.mail@irs.gov Jul 21 2020 20:22:29      Internal Revenue Service,
                 P.O. Box 21126,   Philadelphia, PA 19114
7663031        +E-mail/Text: pdelrio@emmetmarvin.com Jul 21 2020 20:22:21      TPR Investment Associates, Inc.,
                 C/O Emmet Marvin & Marvin LLP,   120 Broadway,    New York, NY 10271-0002
7652394        +E-mail/Text: ustpregion07.au.ecf@usdoj.gov Jul 21 2020 20:22:33      United States Trustee,
                 903 San Jacinto, Ste. 230,   Austin, TX 78701-2450
                                                                                              TOTAL: 6

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
aty                Michael Bowen
cr                 ADBG LLC
cr                 Arie Genger
cr                 Eric Herschmann
intp               Kasowitz Benson Torres LLP
cr                 Kasowitz Benson Torres LLP
cr                 Sagi Genger
intp               The Orly Genger 1993 Trust
unk                Zeichner Ellman & Krause LLP
7653365            ADBG LLC
                                                                                                                   TOTALS: 10, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 23, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 21, 2020 at the address(es) listed below:
              Aaron Michael Kaufman   on behalf of Creditor Arie Genger akaufman@dykema.com,
               pelliott@dykema.com
              Adam Pollock    on behalf of Plaintiff   Orly Genger 1993 Trust adam@pollockcohen.com
              Adam Pollock    on behalf of Defendant   Orly Genger 1993 Trust adam@pollockcohen.com
              Adam Pollock    on behalf of Plaintiff   Michael Oldner, as Trustee of The Orly Genger 1993 Trust
               adam@pollockcohen.com
              Adam Pollock    on behalf of Interested Party   The Orly Genger 1993 Trust adam@pollockcohen.com
              Beth Claire Khinchuk   on behalf of Plaintiff Sagi Genger bkhinchuk@emmetmarvin.com
              Beth Claire Khinchuk   on behalf of Defendant Sagi Genger bkhinchuk@emmetmarvin.com
              Beth Claire Khinchuk   on behalf of Creditor Sagi Genger bkhinchuk@emmetmarvin.com
              Beth Claire Khinchuk   on behalf of Creditor   TPR Investment Associates, Inc.
               bkhinchuk@emmetmarvin.com
              Christopher Gartman    on behalf of Defendant   ADBG LLC gartman@hugheshubbard.com,
               corp-reorg-department-7318@ecf.pacerpro.com
              Christopher Gartman    on behalf of Defendant Arnold Broser gartman@hugheshubbard.com,
               corp-reorg-department-7318@ecf.pacerpro.com
              Christopher Gartman    on behalf of Defendant David Broser gartman@hugheshubbard.com,
               corp-reorg-department-7318@ecf.pacerpro.com
              Christopher Gartman    on behalf of Defendant   Tedco Inc. gartman@hugheshubbard.com,
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                              Form ID: 143                Total Noticed: 51


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Christopher Gartman     on behalf of Creditor    ADBG LLC gartman@hugheshubbard.com,
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              Deborah D. Williamson    on behalf of Creditor Arie Genger dwilliamson@dykema.com,
               rcolbath@dykema.com
              Douglas E. Spelfogel    on behalf of Interested Party Dalia Genger dspelfogel@foley.com
              Elizabeth Aboulafia     on behalf of Plaintiff    Michael Oldner, as Trustee of The Orly Genger
               1993 Trust eaboulafia@cullenanddykman.com
              Elizabeth Aboulafia     on behalf of Interested Party    The Orly Genger 1993 Trust
               eaboulafia@cullenanddykman.com
              Eric Daniel Herschmann    on behalf of Creditor Eric Herschmann eherschmann@kasowitz.com,
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              Frank A. Oswald    on behalf of Creditor Arie Genger frankoswald@teamtogut.com,
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               togut.com
              Ira Daniel Tokayer    on behalf of Interested Party Dalia Genger imtoke@mindspring.com
              Ira Daniel Tokayer    on behalf of Plaintiff    D&K GP LLC imtoke@mindspring.com
              Ira Daniel Tokayer    on behalf of Interested Party    D&K GP LLC imtoke@mindspring.com
              Ira Daniel Tokayer    on behalf of Plaintiff Dalia Genger imtoke@mindspring.com
              Jay H. Ong    on behalf of Interested Party    The Orly Genger 1993 Trust jong@munsch.com
              John Dellaportas     on behalf of Plaintiff Sagi Genger jdellaportas@emmetmarvin.com
              John Dellaportas     on behalf of Creditor    TPR Investment Associates, Inc.
               jdellaportas@emmetmarvin.com
              John Dellaportas     on behalf of Defendant Sagi Genger jdellaportas@emmetmarvin.com
              John Dellaportas     on behalf of Creditor Sagi Genger dellajo@morganlewis.com
              John Dellaportas     on behalf of Defendant    Sagi Genger 1993 Trust jdellaportas@emmetmarvin.com
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              Michael Bowen     on behalf of Defendant Michael Bowen mbowen@kasowitz.com,
               courtnotices@kasowitz.com
              Michael Bowen     on behalf of Defendant Eric Herschmann mbowen@kasowitz.com,
               courtnotices@kasowitz.com
              Michael T. Sullivan    on behalf of Unknown    Zeichner Ellman & Krause LLP
               msullivan@sullivanlaw.com, rlombardo@sullivanlaw.com
              Paul J. Labov    on behalf of Plaintiff Dalia Genger plabov@pszjlaw.com, plabov@foley.com
              Paul J. Labov    on behalf of Interested Party Dalia Genger plabov@pszjlaw.com, plabov@foley.com
              Rocco A. Cavaliere    on behalf of Defendant Deborah J. Piazza rcavaliere@tarterkrinsky.com,
               snobles@tarterkrinsky.com
              Rocco A. Cavaliere    on behalf of Trustee Deborah Piazza rcavaliere@tarterkrinsky.com,
               snobles@tarterkrinsky.com
              Sabrina L. Streusand    on behalf of Creditor    TPR Investment Associates, Inc.
               streusand@slollp.com, prentice@slollp.com
              Sabrina L. Streusand    on behalf of Plaintiff    TPR Investment Associates, Inc.
               streusand@slollp.com, prentice@slollp.com
              Sabrina L. Streusand    on behalf of Plaintiff Sagi Genger streusand@slollp.com,
               prentice@slollp.com
              Sabrina L. Streusand    on behalf of Creditor Sagi Genger streusand@slollp.com,
               prentice@slollp.com
              Thomas A. Pitta    on behalf of Defendant Sagi Genger tpitta@emmetmarvin.com,
               pdelrio@emmetmarvin.com
              Thomas A. Pitta    on behalf of Creditor    TPR Investment Associates, Inc. tpitta@emmetmarvin.com,
               pdelrio@emmetmarvin.com
              Thomas A. Pitta    on behalf of Creditor Sagi Genger tpitta@emmetmarvin.com,
               pdelrio@emmetmarvin.com
              Thomas A. Pitta    on behalf of Plaintiff Sagi Genger tpitta@emmetmarvin.com,
               pdelrio@emmetmarvin.com
              United States Trustee    USTPRegion02.NYECF@USDOJ.GOV
              Yann Geron     on behalf of Debtor Orly Genger ygeron@reitlerlaw.com,
               ygeronnys@ecf.axosfs.com;jlitos@reitlerlaw.com;nsantucci@reitlerlaw.com;jtrainor@reitlerlaw.com;a
               suffern@axosfs.com;jrodriguez@reitlerlaw.com;kmenendez@reitlerlaw.com
                                                                                               TOTAL: 55
